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Attorneys for Plaintiff
KARS 4 KIDS INC.
                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                 :
KARS 4 KIDS INC.,                                :     Civil Action No. 14-7770 (PGS/LHG)
                                                 :
           Plaintiff,                            :         NOTICE OF MOTION
                                                 :   IN LIMINE NO. 1 TO EXCLUDE THE
v.                                               :    ENTIRETY OF BRYCE R. COOK’S
                                                 :              OPINIONS
AMERICA CAN!,                                    :
                                                 :              Electronically Filed
           Defendant.                            :
                                                 :     ORAL ARGUMENT REQUESTED


       PLEASE TAKE NOTICE that pursuant to the schedule to be set forth by the Court, the

undersigned counsel for Plaintiff Kars 4 Kids, Inc. (“Kars 4 Kids”) shall move in limine before the

Honorable Peter G. Sheridan, U.S.D.J., at the United States District Court for the District of New

Jersey, 402 East State Street, Trenton, New Jersey, for an Order to exclude the entirety of Bryce

R. Cook’s opinions.

       PLEASE TAKE FURTHER NOTICE THAT in support of the within motion in limine

No. 2, Kars 4 Kids will rely upon its Brief, Declaration of Briggs M. Wright with exhibits attached
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thereto, and any additional submissions made hereafter. A proposed form of Order is also

submitted for the Court’s consideration.



Dated: February 14, 2019                   Respectfully submitted,


                                           s/ Liza M. Walsh
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